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                      IN THE UNITED STATES DISTRICT COURT
                       OR THE DISTRICT OF SOUTH CAROLINA
                               COLUMBIA DIVISION

FRIENDS OF THE EARTH, INC.                       §
And CITIZENS LOCAL                               §
ENVIRONMENTAL ACTION                             § CIVIL ACTION NO. 3:92-2574-0 (MJP)
NETWORK,                                         §
                                                 §
                        Plaintiffs,              §
                                                 §
v.                                               §
                                                 §
GASTON COPPER                                    §
RECYCLING CORPORATION                            §
                                                 §
                        Defendant.               §

     GASTON COPPER’S OBJECTION TO PLAINTIFFS’ PROPOSED OPINION AND ORDER

        Defendant Gaston Copper Recycling Corporation (“Gaston Copper” or “Defendant”)

objects to the Plaintiffs’ proposed Opinion and Order (the “Proposed Order”) on Plaintiffs’

Application for an Award of Litigation Costs, Including Attorneys’ Fees and Expert Witness’

Fees [Doc. 185] (the “Application”) as follows:

                                      I. OBJECTIONS

A.      The Proposed Order Does Not Accurately Reflect the Court’s Ruling on
        Plaintiffs’ Application.

        Defendant objects to the Proposed Order on the grounds that Plaintiffs have improperly

included a discussion of matters not before the Court and have misstated this Court’s findings

regarding the Plaintiffs’ Application. For example, Plaintiffs’ Proposed Order includes a finding

that they would have been entitled to an award of attorneys’ fees at 2007 rates (as opposed to

2005 rates) had they requested them. (See Proposed Order at 3). This issue was not before the

Court and the Court did not make a comment, much less a ruling, to that effect during the May

22, 2007 hearing on this matter. Similarly, the Court did not make a finding there was no block


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billing, or comment that it was not “necessary” for counsel to set forth time expended by tasks,

as suggested in the Proposed Order. (See Proposed Order at 4). Further, the Court made no

finding that billing in quarter hour increments resulted in less time billed. (See Proposed Order at

4). In fact, the information needed to reach such a conclusion is nowhere in the record before the

Court. Therefore, Plaintiffs’ statement that Defendant presented no contrary evidence regarding

Plaintiffs’ billing practices is not appropriate. Finally, the Court made no finding that the

Plaintiffs’ were entitled to submit additional fee applications. (See Proposed Order at 8).

Plaintiffs’ inclusion of such a finding in their Proposed Order is wholly improper.

        As these examples make clear, Plaintiffs have taken great liberties in preparing the

Proposed Order and have improperly included findings that were not made by the Court at the

May 22, 2007 hearing on the Plaintiff’s Application. Therefore, Defendant objects to the entry

of Plaintiffs’ Proposed Order as not accurately reflecting this Court’s ruling on the Application.

B.      Plaintiffs’ Fail to Deduct All Fees Related to Permit Matters From The Fee
        Award in the Proposed Order.

        Defendant further objects to the Proposed Order on the grounds that Plaintiffs have not

accurately stated the amount of attorneys’ fees awarded by the Court. Specifically, while the

Court expressly denied the Plaintiffs’ request for fees related to their work on the permit

challenge before the South Carolina Board of Health and Environmental Control (the “Permit

Activities”), Plaintiffs have only reduced the original amount of fees requested in the Application

by $95,093.40, which is less than the amount Plaintiffs’ originally attributed to Permit Activities

in their Application. Moreover, the Court specifically instructed the Plaintiffs to deduct all time

attributable to Permit Activities, regardless of how it was previously categorized by the

Plaintiffs, from the amount of attorneys’ fees they were seeking. Defendant has reviewed

Plaintiffs’ time entries and has determined that, at a minimum, Plaintiffs’ original request for


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attorneys’ fees should be reduced by a minimum of $121,923.50. Thus, Plaintiffs have failed to

account for an additional $26,830.10 in fees attributable to Permit Activities in their current

calculation. Therefore, as the Plaintiffs have failed to comply with this Court’s ruling regarding

the amount of attorneys’ fees to be awarded, Defendant objects to the Court’s entry of the

Proposed Order.

C.      The Proposed Order Does Not Properly Dispose of All of the Issues Before
        the Court.

        Defendant further objects to the Proposed Order on the grounds that it does not properly

dispose of all issues before the Court. The order entered by the Court regarding the Plaintiffs’

Application should specifically dispose of Defendant’s objections to the Plaintiffs’ Application.

                                     II. CONCLUSION

        As more fully discussed above, Plaintiffs’ Proposed Order does not accurately reflect the

Court’s ruling on Plaintiffs’ Application.         Therefore, subject to, and without waiving, its

previously asserted objections to the substance of the Court’s ruling on Plaintiffs’ Application

Defendant submits a proposed order attached hereto as Exhibit “A”, which Defendant believes

accurately and thoroughly reflects this Court’s ruling thereon.




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                                        Respectfully submitted,

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                                    Certificate of Service

        I certify that a copy of this motion was served on each party to this appeal by

mailing it to the following by _____________________________ on June ______, 2007:


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